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                        IN THE UNITED STATES DISTRICT COURT                             E.         L.
                        FOR THE EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


 UNITED STATES OF AMERICA,                        )
                                                  )
         V.                                       )            No. l:I9-mj

 JILANA A. MERCADO,                               )
                                                  )            Initial Appearance: July 15, 2019
         Defendant.                               )

                                   CRIMINAL INFORMATION


                                 Count I (Misdemeanor 7517496)

THE UNITED STATES ATTORNEY CHARGES THAT:


       On or about May 30, 2019, at Fort Belvoir, Virginia, within the special maritime and

territorial jurisdiction of the United States in the Eastern District of Virginia, the defendant,

JILANA A. MERCADO,did unlawfully steal, purloin, or knowingly convert to her use or the

use of another, property of the United States or any department or agency thereof, specifically:

Three (3) make-up items, the property of the United States Army and Air Force Exchange

Service, said property having a value of less than One Thousand Dollars ($1,000).


(In violation of Title 18, United States Code, Section 641.)



                                             Respectfully submitted.


                                               G. Zachary Terwilliger
                                               United States Attorney

                                       By:
                                               Elizabeth A. Banger
                                               Special Assistant United States Attorney
                                               United States Attorney's Office
                                               2100 Janiieson Avenue
                                               Alexandria, VA 22314
                                               Phone:(703) 299-3854
                                               Fax:(703) 299-3980
                                               Email: elizabeth.banger(@usdoj.gov
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